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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

THOMAS SIERRA,                                 )
                                               )       No. 18 C 3029
               Plaintiff,                      )
                                               )       Magistrate Judge M. David Weisman
               v.                              )
                                               )
REYNALDO GUEVARA, et al.,                      )
                                               )
               Defendants.                     )

                                              ORDER

        The Court has considered the parties’ joint motion to appoint counsel for third-party
witness Alberto Rodriguez, and denies it [ECF 358]. Given that Mr. Rodriguez is housed in a
federal prison facility in Arkansas, he previously testified in another civil case involving some of
the same defendants, and he is apparently willing to be deposed if he has counsel present, the Court
will allow the parties time to jointly retain an attorney who can represent Mr. Rodriguez but will
not recruit or appoint counsel for him. Recruiting counsel would impose a burden on private
counsel who are members of the trial bar and are effectively obligated to accept such recruitment
as part of their trial bar membership. Appointing counsel would impose a financial burden on the
Court because appointed counsel is paid with Court funds. The Court cannot justify using those
funds to appoint counsel for Mr. Rodriguez, who is a witness in a civil action and whose testimony
is unlikely to expose him to criminal liability. The parties are to file a joint status report by March
28, 2022 that details their plans with respect to Mr. Rodriguez’s deposition.

SO ORDERED.                                    ENTERED: March 16, 2022




                                               M. David Weisman
                                               United States Magistrate Judge
